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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                      CASE NO. 20-23564-CIV-SMITH/GOODMAN

  DAVID WILLIAMS, et al.,

        Plaintiffs,

  v.

  RECKITT BENCKISER LLC, et al.,

        Defendants.
  _______________________________/

                      POST-HEARING ADMINISTRATIVE ORDER

        On February 25, 2025, the Undersigned held a status conference via Zoom [ECF

  No. 151] to coordinate a filing schedule pursuant to the Eleventh Circuit’s mandate [ECF

  No. 146] and the parties’ Joint Motion for Status Conference Hearing [ECF No. 148].

  United States District Judge Rodney Smith referred the matter to me “for an appropriate

  ruling.” [ECF No. 149].

        IT IS ORDERED AND ADJUDGED that the parties must adhere to the following

  deadlines absent further Court Order:

        1.    If Plaintiffs are going to amend their Complaint, then they must file a
        motion to amend their Complaint by March 27, 2025.

        2.   The parties must file their fully executed revised settlement agreement on
        CM/ECF 45 days after Plaintiffs’ Amended Complaint is filed.
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       3.    The parties shall submit memoranda (either joint or separate) on whether
       the Court should first (and separately) evaluate a class certification motion before
       addressing a motion to approve a class settlement. This memoranda must be filed
       within seven days after the fully executed revised settlement agreement is filed
       on CM/ECF.

       4.      Depending on how the Court rules following review of the parties’
       memoranda, the parties must file either a motion for class certification only or a
       motion for approval of settlement agreement with an incorporated motion to
       certify the class. The motion(s) will be due 30 days after the Court issues a ruling
       on whether the parties should first and separately file a motion for class
       certification.

       5.     The parties shall jointly file a motion for a status conference hearing to
       determine future deadlines within seven days after the Court files its ruling on
       the issue discussed in numbered paragraph 3.

       DONE AND ORDERED in Chambers, in Miami, Florida, on February 25, 2025.




  Copies furnished to:
  The Honorable Rodney Smith
  All Counsel of Record




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